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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


CARMEN GRIFFIN
100 Innkeeper Court
Elkton, MD 21921

        Plaintiffs,

v.                                                     Civil Action No.: 1:20-cv-02603-SAG

THE UNITED STATES OF AMERICA

Serve on:      Acting Attorney General
               Monty Wilkinson
               Department of Justice
               950 Pennsylvania Avenue
               Room B-103
               Washington, DC 20530

       Defendant.


                                          COMPLAINT

       NOW COMES Carmen Griffin (hereinafter “Griffin”), Plaintiff herein, by and through her

attorney, Robert E. Joyce and The Law Office of Barry R. Glazer, LLC, and sues Defendant The

United States of America (hereinafter “Defendant”) and for reasons state as follows:

                                        INTRODUCTION

       1.      Plaintiff Griffin, is and at all times relevant hereto, was a resident of the State of

Maryland.

       2.      Defendant, The United States of America (hereinafter “Defendant United States”),

is amenable under 28 U.S.C. §1346(b) to suit for damages arising from the negligent condition of

its property at the United States Postal Service office located at 137 W. Main Street, Elkton, Cecil

County, MD 21921 and Plaintiff Griffin, and as set forth more fully below, has satisfied the notice

requirements of 28 U.S.C. §2675 (the “Federal Tort Claims Act”).
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        3.        Defendant United States, at all times relevant to this complaint,

controlled the United States Postal Service and by and through its agents, servants and/or employees

was responsible for managing the conditions of its facilities, including but not limited to the

buildings and/or staircases at or near 137 W. Main Street, Elkton, Cecil County, Maryland.

        4.       Defendant United States, at all times relevant to facts pertaining to this case,

exercised control over and influenced the policies, practices and customs of the United States Postal

Service, as well as the training, supervision, control and discipline of Postal workers. In addition,

Defendant United States has acted or fails to act through its policy-making officials, including, but

not limited to, the Postmaster General; the acts and edicts of these policy making official(s)

constitute the policies, practices and customs of Defendant United States.

                                  JURISDICTION AND VENUE

        5.       The claims herein are brought pursuant to the Federal Tort Claims Act (28 U.S.C.

§2671, et seq.

        6.       Jurisdiction over this case is conferred by 28 U.S.C. §1346.

        7.       Venue is properly laid in this district pursuant to 28 U.S.C. §1402(b) as the cause of

action, a trip and fall, arose in Elkton, Cecil County, Maryland.

        8.       Plaintiff satisfied the notice of claim required under 28 U.S.C. §2675 by sending her

completed Standard Form 95 to the appropriate agency, the United States Postal Service, via

certified mail on April 24, 2019.

        9.       The United States Postal Service sent its denial of Plaintiff’s claim on September 3,

2020.

                     COUNT I - NEGLIGENCE - PREMISES LIABILITY

        10.      Plaintiff Griffin adopts and incorporates by reference each of the factual allegations


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contained in Paragraphs 1 through 9 above as if fully set forth herein.

        11.     On or about April 5, 2019 Plaintiff was walking up the exterior stairs to the United

States Post Office location at 137 W. Main Street, Elkton, MD 21921 with the intention of entering

the main entrance to conduct business therein.

        12.     As she ascended the stairs she tripped and fell on the second step for the top of the

stairs on the left hand side of the staircase. The fall occurred as a result of a defect on the stair which

she could not have discovered prior to ascending said stairs and which was latent.

        13.     As a result of the fall, Plaintiff injured her left wrist, left hip and left knee. As a result

she incurred significant medical bills and missed time from work.

        14.     Defendant United States, through its agency the United States Postal Service, was

the landowner and/or manager of the staircase, and, as such, Defendant had a duty to use reasonable

and ordinary care to maintain a safe premises for Plaintiff Griffin and to protect Plaintiff Griffin

against injury caused by an unreasonable risk which she, by exercising ordinary care, could not

discover.

        15.     The stairs were improperly designed, secured and/or maintained and therefore was

unreasonably dangerous to Plaintiff Griffin as well as other members of the public who had to use

this walkway to enter and exit the post office.

        16.     Defendant United States was aware, or in the exercise of reasonable care, should

have been aware of the existing hazard.

        17.     Defendants, and or their agents, servants, contractors and/or employees, had a duty

of care to safely and reasonably maintain a safe area for ingress and egress from the subject Post

Office for the general public and to keep these areas free from unreasonable hazards, such as cracks

and/or unlevel steps on the staircase.


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        18.     In breach of said duty, Defendants, and/or their agents, servants contractors and/or

employees carelessly and negligently failed to insure that the area in question was properly secured

and and safe to walk on, it failed to warn Plaintiff Griffin of the danger presented, failed to properly

hire individuals or companies to perform or properly perform the duties mentioned and was

otherwise careless, reckless and negligent.

        19.     Defendants’ negligence factually and proximately caused Plaintiff Griffin to suffer

serious present and future injuries to her left wrist, left hip and left knee, and to suffer great present

and future mental anguish, and present and future loss of work, wages, and property.

        20.     All such injuries suffered by Plaintiff Griffin were caused solely by the negligence

of the Defendants and/or their agents, servants, contractors and/or employees without any negligence

by Plaintiff Herlihy contributing thereto.

        WHEREFORE, Plaintiff, Carmen Griffin, demands that judgment be entered in his favor and

against Defendant United States, in excess of Seventy-Five Thousand Dollars ($75,000.00) together

with interest and costs, and such other and further relief as this Honorable Court deems proper.



                                                         Respectfully submitted,


                                                              /s/
                                                         Robert E. Joyce #26427
                                                         Law Office of Barry R. Glazer, LLC
                                                         P.O. Box 27166
                                                         1010 Light Street
                                                         Baltimore, MD 21230
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                                                         Attorney for Plaintiff



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                                   DEMAND FOR JURY TRIAL

        Plaintiff, Carmen Griffin, by and through undersigned counsel hereby respectfully

requests a jury trial in this matter.

                                                    Respectfully submitted,

                                                          /s/
                                                    Robert E. Joyce #26427
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                                                    Attorney for Plaintiff




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